Case 5:22-cv-00789-JWH-SHK Document 11 Filed 05/10/22 Page 1 of 3 Page ID #:147




  1
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  7

  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
      Ross Cornell,                                 Case No.
 11
                                                     5:22-cv-00789-JWH-SHK
 12                   Plaintiff,
 13                                                 PROOF OF SERVICE
 14
                      v.
 15
      Office of the District Attorney, County of
 16
      Riverside, et al.,
 17

 18                   Defendants.
 19

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 28                                         -1-
                                       PROOF OF SERVICE
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Case 5:22-cv-00789-JWH-SHK Document 11 Filed 05/10/22 Page 2 of 3 Page ID #:148




                                     RETURN OF SERVICE

                             UNITED STATES DISTRICT COURT
                                    District of California

 Case Number: 5:22-CV-00789
 JWH (SHKX)

 Plaintiff:
 ROSS CORNELL
 vs.
 Defendant:
 OFFICE OF THE DISTRICT ATTORNEY, COUNTY OF RIVERSIDE
 AND DOES 1-100, INCLUSIVE

 For:
 Ross Cornell, Esq.
 LAW OFFICES OF ROSS CORNELL
 111 W. Ocean Blvd. Ste. 400
 Long Beach, CA 90802

 Received by AAA Attorney Services II, Inc. to be served on OFFICE OF THE DISTRICT ATTORNEY,
 COUNTY OF RIVERSIDE, 3960 ORANGE ST., RIVERSIDE, CA 92501.

 I, STEPHANIE BEMAN, do hereby affirm that on the 10th day of May, 2022 at 2:47 pm, I:

 served an AUTHORIZED entity by delivering a true copy of the SUMMONS IN A CIVIL ACTION,
 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF, EXHIBITS "A - C", CIVIL COVER
 SHEET, NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES, NOTICE OF EX PARTE
 APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE
 ISSUANCE OF PRELIMINARY INJUNCTION, [PROPOSED] TEMPORARY RESTRAINING ORDER
 AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION, PLAINTIFF'S MEMORANDUM OF
 POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR TEMPORARY
 RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY PRELIMINARY INJUNCTION SHOULD
 NOT ISSUE, DECLARATION OF ROSS CORNELL IN SUPPORT OF PLAINTIFF'S MEMORANDUM OF
 POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR TEMPORARY
 RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY PRELIMINARY INJUNCTION SHOULD
 NOT ISSUE, EXHIBITS "A - D", DECLARATION OF BRYAN ESTRADA IN SUPPORT OF PLAINTIFF'S
 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR
 TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY PRELIMINARY
 INJUNCTION SHOULD NOT ISSUE, DECLARATION OF ADELFO CERAME, JR. IN SUPPORT OF
 PLAINTIFF'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE
 APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY
 PRELIMINARY INJUNCTION SHOULD NOT ISSUE, CERTIFICATION AND NOTICE OF INTERESTED
 PARTIES, NOTICE TO COUNSEL RE CONSENT TO PROCEED BEFORE A UNITED STATES
 MAGISTRATE JUDGE, NOTICE OF PARTIES OF COURT-DIRECTED ADR PROGRAM with the date
 and hour of service endorsed thereon by me, to: ANGIE L. as RECEPTIONIST at the address of: 3960
 ORANGE ST., RIVERSIDE, CA 92501, who stated they are authorized to accept service for OFFICE OF
 THE DISTRICT ATTORNEY, COUNTY OF RIVERSIDE, and informed said person of the contents
 therein, in compliance with state statutes.

 Description of Person Served: Age: 50, Sex: F, Race/Skin Color: AF AMER, Height: 5-8, Weight: 210,
 Hair: BROWN, Glasses: N
Case 5:22-cv-00789-JWH-SHK Document 11 Filed 05/10/22 Page 3 of 3 Page ID #:149




                   RETURN OF SERVICE For 5:22-CV-00789 JWH (SHKX)




 I certify that I have no interest in the above action, am of legal age and have proper authority in the
 jurisdiction in which this service was made.




                                                                           STEPHANIE BEMAN
                                                                           PS - 1305
                                                                             5/10/2022
                                                                           Date

                                                                           AAA Attorney Services II, Inc.
                                                                           P.O. Box 2309
                                                                           Orange, CA 92859
                                                                           (714) 633-4167

                                                                           Our Job Serial Number: ACA-2022002827
                                                                           Service Fee: $117.05


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